                       UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION
 In the Matter of:                               }
 PRIMARY PROVIDERS OF ALABAMA, INC.              }   CASE NO. 18-83207-CRJ-11
 EIN: XX-XXX9960                                 }
                                                 }   CHAPTER 11
                       Debtor(s).                }



                      ORDER SCHEDULING STATUS CONFERENCE
                       ON HUNTSVILLE UTILITIES REQUEST FOR
                        ADEQUATE ASSURANCE OF PAYMENT

         On November 28, 2018, Huntsville Utilities filed a letter dated November 20, 2018

 requesting adequate assurance of payment for utility services in the above-captioned case pursuant

 to 11 U.S.C. § 366. A Status Conference will be held in this case pursuant to 11 U.S.C. ' 105(d)

 to discuss the request for adequate assurance of payment and to further the economical resolution

 of this case.

         IT IS THEREFORE ORDERED, ADJUDGED and DECREED that counsel for the

 Debtor must appear at the Status Conference on December 3, 2018 at 2:30 p.m. before the

 Honorable Clifton R. Jessup, Jr. at the United States Bankruptcy Court for the Northern District

 of Alabama, Northern Division, 400 Well Street, Decatur, AL 35601 to discuss the request by

 Huntsville Utilities for adequate assurance of payment.



 Dated this the 28th day of November, 2018.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




Case 18-83207-CRJ11        Doc 32    Filed 11/28/18 Entered 11/28/18 14:08:26            Desc Main
                                    Document     Page 1 of 1
